

Matter of Luciano P. (Louis P.) (2020 NY Slip Op 07288)





Matter of Luciano P. (Louis P.)


2020 NY Slip Op 07288


Decided on December 03, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 03, 2020

Before: Renwick, J.P., Manzanet-Daniels, Mazzarelli, Singh, Scarpulla, JJ. 


Docket No. N4016/17 Appeal No. 12527 Case No. 2019-04613 

[*1]In the Matter of Luciano P., and Others, Children Under Eighteen Years of Age, etc., Louis P., Respondent-Appellant, Administration for Children's Services, Respondent-Respondent.


Michele Cortese, The Center for Family Representation, Inc., New York (Emily S. Wall of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Rebecca L. Visgaitis of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Patricia Colella of counsel), attorney for the children.



Order of disposition, Family Court, New York County (Patria Frias-Colon, J.), entered on or about April 29, 2019, to the extent it brings up for review a fact-finding order, same court (Ta-Tanisha James, J.), entered on or about August 31, 2018, which found that respondent father neglected the subject children, unanimously reversed, on the law and the facts, without costs, the fact-finding determination vacated and the petitions dismissed.
The Administration for Children's Services (ACS) concedes it is not seeking affirmance of the neglect finding. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 3, 2020








